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 AO 440(Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   Central District of California Q

                        ZHOIE PEREZ




                            Plaintiffs)
                                                                       ~~~~~~ ~~~JV ~                              ~✓
                                V.                                     Civil Action No.
CITY OF LOS ANGELES, OFFICER RIOS, OFFICER
    WALKER, CLAUDE JABSI, JOHN DOE ~



                          Defendants)


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CLAUDE JABSI
                                  8501 PERSHING DRIVE
                                   UNIT 4
                                   PLAYA DEL REY, CA 90293




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                ZHOIE PEREZ
                                14926 TEMPLAR DRIVE
                                LA MIRADA CA 90638




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date: ~('' ~~ —

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Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(l))

          This summons for (~:ame ofindividual and title, ifany)
was received by me on (dare)

          ~ I personally served the summons on the individual at (place)
                                                                                 Ori (date)                          ; or


          ~ I left the summons at the individual's residence or usual place of abode with (name)
                                                                   a person of suitable age and discretion who resides there,
          on (date)                             ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (mm~e ofindividual)                                                                        who is
           designated by law to accept service of process on behalf of(name oforganizarion)
                                                                                 on (date)                            or

          Q I returned the suimnons unexecuted because                                                                             or

         ~ Other (specify):




          My fees are $                         for travel and $                     for services, for a total of$          0.00


         I declare under penalty of perjury that this information is true.



Date
                                                                                              Server's signature



                                                                                         Printed name and title




                                                                                              Server's address


Additional information regarding attempted service, etc:
